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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF VIRGINIA
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                                       Alexandria DivisionC ' 1.       "3 " "                      ,
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UNITED STATES OF AMERICA
                                                            Docket No.1:19MJ Sl\
                       V.                                   CLASS A MISDEMEANOR
                                                            Court Date: December 10,2019
KEVIN 0. FLIGHT,

               Defendant.



                              CRIMINAL INFORMATION
                   (Count 1 -CLASS A MISDEMEANOR- 7880312)

       THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about November 27, 2019, at the George Washington Memorial Parkway,
in the Eastern District of Virginia, the defendant, KEVIN G. FLIGHT,did unlawfully,
knowingly and intentionally possess a mixture and substance which contains a detectable

amount of Cocaine, a Schedule II controlled substance.

(Violation of Title 21, United States Code, Section 844).
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